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AO 450 (Rev. 11/11) Judgment in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Pennsylvania

ANNA PERASSO

 

Plaintiff
Vv

. Civil Action No. 3:10-1476
COVE HAVEN, INC., et al,

 

Nem Nee Nee eee Nee”

Defendant

AMENDED JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

Y the plaintiff (name) ANNA PERASSO recover from the
defendant (name COVE HAVEN, INC., et al., the amount of
TEN THOUSAND FIVE HUNDRED NINETY THREE dollars ($ 10,593.00), which includes prejudgment
interest at the rateof 5.93%, plus post judgment interest at the rate % per annum, along with costs.

(J the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

other:

 

 

This action was (check one):

Y tried by a jury with Judge A. Richard Caputo presiding, and the jury has
rendered a verdict.

 

O tried by Judge without a jury and the above decision
was reached.

 

decided by Judge on a motion for

 

 

 

Date: Feb. 8,2013 CLERK OF COURT

/s/ Judith A. Malavé

 

Signature of Clerk or Deputy Clerk

 
